4:08-cr-03148-RGK-CRZ   Doc # 127   Filed: 02/06/09   Page 1 of 1 - Page ID # 259



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3148
                                     )
           v.                        )
                                     )
CHAD W. FERGUSON,                    )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Defendant’s motion, filing no. 110, for permission to

restrict document is granted and the clerk shall maintain filing

no. 111 as a restricted access document.


     DATED this 6th day of February, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
